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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA



 UNITED STATES OF AMERICA

                             Plaintiff,

                 v.                                    No. 0:23-cv-03009-JRT-JFD


 AGRI STATS, INC.

                             Defendant.


      PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO SEAL

       The United States’ Complaint alleges that Agri Stats, Inc. violated the antitrust laws

by organizing the exchange of competitively sensitive information among the largest

chicken, pork, and turkey processors with the effect of boosting industry-wide profits at

the expense of consumers. Agri Stats now seeks to compel the United States to re-file its

Complaint under seal and redact allegations that Agri Stats deems “confidential.”

       Neither Agri Stats’ motion nor its prefiling discussions with the United States

explain how or why any of the information identified in the Complaint could cause

competitive harm to Agri Stats. The paragraphs for which Agri Stats seeks redaction

include information that is (1) equivalent to information already in the public domain,

including as a result of a hearing before this Court; (2) old—in some cases more than a

decade old; or (3) not of the type that could not plausibly threaten competitive harm to Agri

Stats. Accordingly, Agri Stats has not and cannot overcome the strong presumption in favor
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of public access to judicial documents in court proceedings and government enforcement

actions enshrined in both the common law and this Court’s Local Rules.

       Unable to explain how public disclosure of information in the Complaint could harm

its business, Agri Stats instead asserts that any material produced to the United States in an

investigation may not be disclosed in a complaint, without leave of court, if a party

unilaterally designated that material as “confidential.” But no court has adopted this

position and the regulation Agri Stats relies on for this novel view deals with disclosure

requested under the Freedom of Information Act, which is not relevant. The United States

has strictly adhered to the regulations dealing with its ability to disclose information in an

antitrust case, see 15 U.S.C. § 1313(d)(1), and assertions to the contrary are meritless.

       The United States respectfully submits that the motion should be denied.

                              FACTUAL BACKGROUND

       The United States filed this enforcement action on September 28, 2023, alleging

that Agri Stats violated Section 1 of the Sherman Act by enabling and encouraging

anticompetitive information exchanges among the country’s largest chicken, pork, and

turkey processors. As part of its investigation, the United States obtained evidence from

Agri Stats and third parties using Civil Investigative Demands (“CIDs”) issued under the

Antitrust Civil Process Act, 15 U.S.C. §§ 1311-1314. See Friedman Decl. ¶ 3. The United

States used some of this evidence to support allegations included in the Complaint.

Although the Antitrust Civil Process Act expressly allows the United States to use this

information as part of an enforcement action (see infra), attorneys for the United States

reviewed the Complaint to ensure that it did not contain any competitively sensitive

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information. Id. ¶¶ 16-19. Agri Stats accepted service of the Complaint the day it was filed

and published a press release on its website dated the same day entitled, “DOJ Lawsuit

Against Agri Stats is Wrong on the Law and Bad for Consumers.” Id. Ex. 7.

       Four days after accepting service of the Complaint, on October 2, 2023, Agri Stats’

counsel emailed counsel for the United States requesting that the United States “withdraw

the complaint until agreed-upon redactions can be made.” Id. Ex. 8 at 4. Counsel’s request

prompted the United States to ask Agri Stats to identify the paragraphs of “immediate

concern” and to explain why those allegations should be redacted.1 Agri Stats responded

with a list of 25 paragraphs—almost double the number of paragraphs identified in the

present motion—that Agri Stats claimed contained information designated “Highly

Confidential” in other litigations, plus one paragraph with information that Agri Stats

claimed it had provided to the United States on the condition that it would be kept

confidential. Id. at 3. The United States responded a few hours later stating that it had

reviewed those paragraphs again and determined once more that none required redaction.

Id at 2.

       Eight days after accepting service of the Complaint, on October 6, 2023, Agri Stats

filed this motion. Notably, this motion came after plaintiffs in both In re Broilers Antitrust

Litigation (“Broilers”) and In re Turkey Antitrust Litigation (“Turkey”) filed the United


1
  The United States is responsive to concerns about the disclosure of competitively
sensitive information and may agree to redact information when appropriate, as it did in
the Assa Abloy case cited by Defendant. Unlike in Assa Abloy, however, Defendant here
has not identified any genuinely competitively sensitive material or explained why any
“confidential” information should not be publicly disclosed—either in the parties’ meet
and confer or in its motion.
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States’ Complaint on those respective dockets. Broilers, 16-cv-8637 (N.D. Ill. Oct. 5,

2023), ECF No. 6924; Turkey, 19-cv-8318 (N.D. Ill. Oct. 3, 2023), ECF No. 843. Agri

Stats has not sought relief regarding those filings.

                                       ARGUMENT

 I.    Agri Stats Has Not Overcome the Strong Presumption of Public Access
       Because the Information at Issue Does Not Warrant Sealing

       Judicial records—including the United States’ Complaint here—are entitled to a

“presumption of public access.” IDT Corp. v. eBay, 709 F.3d 1220, 1222 (8th Cir. 2013).

The presumption ensures that the public can “keep a watchful eye on the workings of public

agencies.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978) (internal quotation

marks omitted). The presumption of public access “is at its apex when the government is a

party to the litigation.” Doe v. Pub. Citizen, 749 F.3d 246, 271 (4th Cir. 2014). “[I]n such

circumstances, the public’s right to know what the executive branch is about coalesces with

the concomitant right of the citizenry to appraise the judicial branch.” FTC v. Standard

Fin. Mgmt. Corp., 830 F.2d 404, 410 (1st Cir. 1987). In addition, Plaintiff’s allegations of

anticompetitive conduct are at the “heart” of the case and thus “the public’s interest in the

information is manifest.” Marden’s Ark, Inc. v. UnitedHealth Group, Inc., 534 F. Supp. 3d

1038, 1049 (D. Minn. 2021). The presumption of public access to the Complaint in this

case is “strong” and “difficult to overcome.” Id. at 1043.

       To surmount the strong presumption, Agri Stats bears the burden of presenting

sufficiently “compelling reason[s]” to keep specific allegations secret. Truong v. UTC

Aerospace Sys., 439 F. Supp. 3d 1171, 1172 (D. Minn. 2020). Agri Stats does not attempt


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such a showing, but instead merely asserts that “[c]ontinued public disclosure of such

confidential business information will cause commercial and competitive harm to Agri

Stats and potentially those to the broiler, pork and turkey businesses Agri Stats serves, or

has served in the past.” Mot. at 7. Such “bald assertions of competitive harm . . . provide

no substantive justification for sealing,” Marden’s Ark, 534 F. Supp. 3d at 1050, and Agri

Stats’ motion should be denied based on that failure of proof alone.2

       In any event, Agri Stats’ claim that the Complaint publicized competitively sensitive

information is not plausible. Each of the specific allegations that Agri Stats identifies does

not warrant sealing because the information disclosed is (1) already available to the public,

(2) too old to cause competitive harm, or (3) otherwise “not the type of sensitive

information that might typically be subject to an order to seal, such as financial data,

proprietary or trade secret information, or personal health details.” Skky, LLC v. Facebook,

Inc., 191 F. Supp. 3d 977, 981 (D. Minn. 2016).

       Several paragraphs identified by Agri Stats involve information that has already

been revealed publicly. For instance, Agri Stats complains about the United States’ limited

excerpting of certain Agri Stats reports, but similar excerpts have been presented publicly

in this Court and are currently available on the Pork MDL docket. See Friedman Decl. Ex.



2
  In State of New York v. Microsoft Corp., 2002 WL 1315804 (D.D.C. May 8, 2002), which
Agri Stats cites, the defendant made an unopposed motion to seal trial testimony after
submitting “proffers” explaining in detail the sensitivity of the confidential material at
issue—specifically, “future plans and/or products not yet available.” 2002 WL 1315804,
at *1. The court agreed to seal proceedings because the defendant “displayed strong
property and privacy interests in maintaining the confidentiality of the information at
issue.” Id. at *2. Agri Stats has not made or even attempted to make such a showing here.
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6 at 11. Agri Stats also has publicly revealed information about its business in other forums.

For example, in 2009, then-Agri Stats President Blair Snyder spoke at a Sanderson Farms

shareholder meeting. A transcript of that presentation is publicly available on the SEC’s

EDGAR database. See id. Ex. 5 (“Shareholder Presentation”). In that presentation, Mr.

Snyder’s described Agri Stats’ business in equal or greater detail as the Complaint:

    Complaint Allegation               Sanderson Farms Shareholder
                                       Presentation

    • ¶ 17 (describing how Agri   • “When we do a setup . . . [w]e convert your raw
      Stats acquires information    data to what we call [the] Agri Stats platform. . . .
      from processors)              We’re going to download your general ledger,
    • ¶ 67 (quoting comments from   your trial balance, every account number [and]
      a former employee and Agri    subsidiary account number that provides the detail
      Stats’ president describing   for a company’s own financial information. We
      Agri Stats’ access to         download that at the greatest level.” Shareholder
      information)                  Presentation at 19-20.

    • ¶¶ 36-37, 43 (Figs. 2-3, 5)   • Former Agri Stats president showed model broiler
      (excerpts from a weekly sales   reports publicly at a Sanderson Farms investor
      report and excerpts from        meeting. Shareholder Presentation at 21.
      monthly breeder chick
      placement report)

    • ¶ 42 Fig. 4 (listing the         • “I’m going to show you some participation lists
      participants in a live             here. The fact that we’ve got high 90 percentage
      production book from 2013)         of both broilers and turkeys, this pretty much
                                         represents about anybody that’s out there in the
                                         broiler industry.” Shareholder Presentation at 19.

    • ¶ 70 (describing Agri Stats      • “[O]ur mission statement is very simple. It’s to
      “paradigm” as bolstering           improve the bottom line profitability for our
      profitability of participants)     participants and we’re going to do that by
                                         providing accurate and timely comparative
                                         data.”). Shareholder Presentation at 16.3

3
  See also Agri Stats’ current website: “Mission Statement: Improve the bottom line
profitability for our participants by providing accurate and timely comparative data . . . .”
https://www.agristats.com/partnership (last accessed Oct. 12, 2023).
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Sealing information that is “already readily accessible” would be “both pointless and

unwarranted.” United States v. Jackson, 2021 WL 1026127, at *6 (D.D.C. Mar. 17, 2021);

see also Skky, LLC, 191 F. Supp. 3d at 981 (denying motion to seal where “most, if not all,

of the information Defendants seek to file under seal appears to be publicly available”).

       Other allegations that Agri Stats seeks to seal contain examples that are years—

sometimes more than a decade—old. See, e.g., Compl. at ¶¶ 36-37 (excerpting a 2012

weekly sales report); ¶ 42 (excerpting a 2013 live production book); ¶ 43 (including an

excerpt from a 2013 monthly breeder chick report); ¶ 80 (including a 2009 Freezer

Inventory report); ¶ 86 (describing 2014 and 2015 communications about the market for

broiler chickens); Friedman Decl. ¶ 17. Such dated information does not warrant sealing

because it is “too stale to cause . . . serious competitive damage.” Inline Packaging, LLC

v. Graphic Packaging Int’l, Inc., 2018 WL 10440735, at *8 (D. Minn. June 20, 2018)

(rejecting motion to seal where information at issue was over ten years old); Cambria Co.

LLC v. Disney Worldwide Servs., Inc., 2023 WL 3827714, at *2 (D. Minn. May 8, 2023),

aff’d, 2023 WL 4559436 (D. Minn. July 17, 2023) (denying motion to seal where the

“terms whose continued confidentiality Disney advocates for are from a contract that is

now seven years old”).

       And finally, Agri Stats does not explain why the remaining allegations that Agri

Stats complains about, see Compl. at ¶¶ 12 (ownership information), 16 (general

description of non-processors with access to some of Agri Stats’ information), 19 (cartoon

about coordination among competitors), and 25-26 (emails between Agri Stats and

processors about recruiting other processors), would be sensitive to the company or cause

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any harm. For example, Agri Stats objects to the cartoon excerpted from an Agri Stats slide

deck featured in Paragraph 19 of the Complaint. That cartoon, which discusses the

challenges to competitor coordination, could not conceivably be deemed competitively

sensitive. See Skky, LLC, 191 F. Supp. 3d at 981; see also Marden’s Ark, 534 F. Supp. 3d

at 1049 (denying motion to seal where “the information may be embarrassing [but] reveals

nothing about [defendant’s] proprietary system or contracts”).

II.    The United States Has Statutory Authority to Publicly File Information
       Obtained Through Civil Investigative Demands in Court Proceedings

       Unable to explain how the disclosure of information contained in the Complaint

could be harmful to its business, Agri Stats relies on two flawed procedural objections to

the United States’ use of information in the Complaint. First, Agri Stats makes the far-

reaching (and never-before accepted) argument that any material produced pursuant to a

CID may not be disclosed in a Complaint if a party has unilaterally designated that material

as “confidential,” regardless of the content of the material. Second, Agri Stats argues that

the United States cannot publicly disclose any material that a party in another litigation has

designated “confidential” under a protective order in that other litigation (again, regardless

of the content of the material). Both arguments are contradicted by the plain language of

the relevant statutes, applicable case law, and the rules of this Court.

          A.      The Antitrust Civil Process Act Expressly Permits the United States
                  to Publicly Disclose CID Materials in Court Proceedings

       Under the Antitrust Civil Process Act, a Department of Justice “custodian” of

materials produced pursuant to a CID may make the materials available to, among others,

“any attorney of the Department of Justice . . . designated to appear before any court . . . in

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any case or proceeding . . . for official use in connection with any such case, grand jury, or

proceeding as such attorney determines to be required.” 15 U.S.C. § 1313(d)(1). When CID

materials are cited in a complaint, they are disclosed “for official use” in a court proceeding

as the Antitrust Division attorneys who made the filing “determine[d] to be required.” Id.;

see In re Air Passenger Computer Reservation Sys. Antitrust Litig., 116 F.R.D. 390, 392

(C.D. Cal. 1986) (“There are exceptions to the rule of strict confidentiality. Information

gathered by a CID may be . . . introduced into the record of agency, court, or grand jury

proceedings.” (citing 15 U.S.C. § 1313(d)(1))); United States v. AMR Corp., 2000 U.S.

Dist. LEXIS 22646, at *11-12 (D. Kans. 2000) (“In addition to consensual disclosure, a

Department of Justice attorney may disclose the CID material ‘for official use in

connection with any case . . . as such attorney determines to be required.’” (quoting 15

U.S.C. § 1313(d))).

       Agri Stats relies primarily on 28 C.F.R. § 16.7, a regulation that governs how the

United States responds to certain public requests for information made under the Freedom

of Information Act (“FOIA”). See 5 U.S.C. § 552. But in quoting the regulation, Mot. at 3-

4, Agri Stats omitted language stating that the regulation expressly applies only when

“records containing [confidential commercial information] are requested under the FOIA

. . . .” 28 C.F.R. § 16.7(c)(1) (emphasis added). This motion concerns information

contained in a complaint, not disclosures in response to FOIA requests. It is the Antitrust




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Civil Process Act, not the FOIA regulations cited by Agri Stats, that governs the United

States’ use of CID information in a complaint.4

       Nor does any case law support Agri Stats’s position. The sole case Agri Stats relies

upon, Aluminum Co. of America v. United States, 444 F. Supp. 1342 (D.D.C. 1978), dealt

with a separate provision of the Antitrust Civil Process Act, 15 U.S.C. § 1313(c)(2), which

concerned the disclosure of CID materials to third parties in investigative depositions prior

to the filing of a case. See Aluminum Co., 444 F. Supp. at 1345-46. The court in Aluminum

Co. said nothing about the United States’ ability to use information “for official use in

connection with any such case” under 15 U.S.C. § 1313(d)(1).

       The process Agri Stats seeks to impose is not contemplated by statute, and for good

reason. Parties often designate (as Agri Stats has here) everything they submit to the

Department of Justice as protected from disclosure under FOIA pursuant to 28 CFR § 16.7.

See Friedman Decl. Ex. 4 (“Agri Stats requests that these materials be treated as

confidential per all applicable rules, statutes, regulations, and policies.”). Under Agri Stats’

logic, the United States would effectively be required to meet and confer with every

defendant (and every third party) before filing a complaint containing any information

submitted in response to a CID, including information that is not even plausibly

competitively sensitive. In other words, by over-designating everything as “confidential,”

a defendant would give itself the right to review and determine—before a complaint was

ever filed—what material the United States could publicly disclose in a complaint against


4
 The Antitrust Civil Process Act expressly exempts all material produced in response to a
CID from FOIA in any event. See 15 U.S.C. 1314(g).
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that defendant. That approach finds no support in statutory language, case law, or decades

of practice.

           B.     The United States Is Not Bound by Agri Stats’ Designations of
                  Confidentiality in Other Cases

       Agri Stats fares no better contending that the Complaint must be sealed because it

contains information that was originally marked “confidential” or “highly confidential” in

other legal proceedings. Mot. at 3. This argument ignores both (i) the text of the Antitrust

Civil Process Act and (ii) this Court’s rules.

       The fact that private parties are bound to treat a document as confidential under a

protective order entered in another case does not restrain the United States’ ability to

reference that document in a public filing. Under the Antitrust Civil Process Act, the United

States is entitled to issue CIDs to secure materials produced in other proceedings. 15 U.S.C.

§§ 1311(i), 1312(a). A CID for such products of discovery “supersedes any inconsistent

order, rule, or provision of law (other than this chapter) preventing or restraining disclosure

of such product of discovery to any person.” 15 U.S.C. § 1312(c)(2).5 In other words, the

terms of a protective order in a litigation do not restrict the production of information

responsive to a CID. Once those products of discovery are produced to the United States,

the Department of Justice is authorized to use them in judicial proceedings pursuant to 15

U.S.C. § 1313(d)(1), just like any other CID materials.




5
 Pursuant to 15 U.S.C. § 1312(a), the United States notified Agri Stats that its discovery
materials were being produced and Agri Stats did not object. Friedman Decl. ¶¶ 3-11, Exs.
1-3.
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       Even if the Antitrust Civil Process Act did not control, Local Rule 5.6 makes clear

that the party seeking to seal information needs to make an affirmative showing that sealing

is warranted. The rule is intended “to reduce the amount of information that is sealed in

civil cases and to ensure that no information is sealed without the permission of a judge.”

2017 Advisory Committee Note to LR 5.6. The Local Rules recognize that “protective

orders are often quite broad, covering entire documents or sets of documents . . . even when

most or all of the contents are not particularly sensitive.” Id. Accordingly, when

information is filed with the Court, “[e]ven if such information is covered by a protective

order, that information should not be kept under seal unless a judge determines that a party

or nonparty’s need for confidentiality outweighs the public’s right of access.” Id.; see Aviva

Sports, Inc. v. Fingerhut Direct Mktg., Inc., 960 F. Supp. 2d 1011, 1013 (D. Minn. 2013)

(“[A] protective order is entirely different than an order to seal or redact Court documents

. . . .”). Agri Stats has not even attempted to show any need for confidentiality, much less

one that outweighs the public’s right of access.6 See Marden’s Ark, 534 F. Supp. 3d at 1044

(denying motion to seal where party failed to provide evidence of harm from disclosure).

                                      CONCLUSION

       For the foregoing reasons, the Court should deny Agri Stats’ motion to seal and the

Complaint should remain publicly available in its entirety.


6
  Even without 15 U.S.C. § 1313(c)(2), the protective orders in Broilers, Turkey, and Pork
do not purport to bind non-parties to those litigations who lawfully subpoena and receive
documents from those litigations. See Agreed Confidentiality Order ¶ 15, Broilers, 16-cv-
8637 (N.D. Ill. Nov. 8, 2016), ECF No. 202; Am. Protective Order ¶ 15, Pork, 18-cv-1776
(D. Minn. Jan. 31, 2022), ECF No. 1155; Protective Order ¶ 15, Turkey, 19-cv-8318 (N.D.
Ill. Dec. 18, 2020), ECF No. 201.
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Dated: October 13, 2023


Respectfully submitted,

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